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ROBERT E. (“BOB”) GlVEN,
dib/a R.J.R. PA|NTING,

P|aintiff,
v. Civil Action No. 05-2136 B P

R & R MANAGEN|ENT, LLC,

v\_»'\_¢'~_¢\__¢'~_»~_¢\_,'\~_»~_¢~_..¢

Defendant.

 

'['PRO‘POS‘E‘B'] ORDER GRANTING lVlOT|ON OF
DEFENDANT FOR THE COURT TO STAY EXECUT|ON OF
THE ENFORCEMENT OF THE DEFAULT JUDGIV|ENT OF

ROBERT E. (“BOB”) GlVEN DIBIA R.J.R PA|NTING

 

This matter came to be heard upon the defendants motion for the court to stay
execution of the enforcement of the default judgment of Robert E. (“Bob”) Given d/b/a
R.J.R. Painting, and the entire record in this cause and the Court finds that the motion is
well-taken and should be granted

lT lS,Tl-IEREFORE, ORDERED,ADJUDGEDAND DECREEDthatthe defendants
motion for the court to stay execution of the enforcement ofthe defaultjudgment of Robert
E. (“Bob”) Given d/b/a R.J.R. Painting is grante

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This notice confirms a copy of the document docketed as number 17 in
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Honorable J. Breen
US DISTRICT COURT

